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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-28 (APM)
               v.                            :
                                             :
THOMAS CALDWELL,                             :
DONOVAN CROWL,                               :
JESSICA WATKINS,                             :
SANDRA PARKER,                               :
BENNIE PARKER,                               :
LAURA STEELE,                                :
KELLY MEGGS,                                 :
CONNIE MEGGS,                                :
KENNETH HARRELSON,                           :
ROBERTO MINUTA,                              :
JOSHUA JAMES,                                :
JONATHAN WALDEN,                             :
JOSEPH HACKETT,                              :
WILLIAM ISAACS,                              :
DAVID MOERSCHEL, and                         :
BRIAN ULRICH,                                :
                                             :
                       Defendants.           :

     UNITED STATES’ MEMORANDUM REGARDING STATUS OF DISCOVERY
             AS OF OCTOBER 21, 2021, AND REQUEST FOR LEAVE
       TO SUPPLEMENT THIS REPORT ON OR ABOUT NOVEMBER 5, 2021


       At the status conference on October 14, 2021, the Court directed the government and

Federal Public Defender to file a pleading addressing the following specific questions:

           The approximate date by which the Relativity and Evidence.com platforms will be
            available to the defense;

           The approximate percentage of the government’s current discoverable holdings that
            will have been uploaded to those platforms at the time they are made available to the
            defense;

           The government’s plan and approximate schedule for rolling productions to the
            platforms thereafter;
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           The approximate date by which the government expects to have all of its current
            discoverable holdings available to the defense; and

           The Government’s plan for improving detained defendants’ access to discovery.

This pleading responds to those inquiries, except that the government is unable to provide the

Court with approximate dates for production at this time. However, as explained below, we can

project that we can apprise the Court of those dates by November 5, 2021, and therefore request

leave to file a supplemental report by that date. This said, as demonstrated below, the Government

continues its substantial progress on the processing of discoverable holdings and fully expects to

make them available sufficiently in advance of the April trial date to comply with the expectations

the Court has set forth. To that end, we provide the following update:

                           Status of Defense Evidence.com Database

       As described in a prior pleading (ECF No. 417), on September 3, 2021, the United States

modified its contract with Axon Enterprise, Inc. (“Axon”), our evidence.com vendor. Pursuant to

the modification, the government funded a Capitol Breach defense instance of evidence.com and

purchased licenses that will enable legal defense teams to gain access to evidence.com and view

voluminous video evidence. The defense instance is managed and administered by the Federal

Public Defender for the District of Columbia (“FPD”), who is acting as the Discovery Liaison for

defense counsel in Capitol Breach cases, and the government has no ability to log into or retrieve

information from the defense instance.

       In conjunction with the Defender Service’s National Litigation Support Team, FPD created

a structure for distributing and tracking evidence.com licenses for defense counsel. As of October

18, 2021, FPD has sent emails to all Capitol Breach defense counsel with instructions on how to

request a license for the legal defense team to view videos in evidence.com. FPD also developed

a “Quick Start Guide” that it simultaneously circulated to all Capitol Breach defense counsel, with


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instructions for registering an account, logging into evidence.com, and further describing how

video discovery may be shared with their clients through the evidence.com platform consistent

with the standard Capitol Breach protective order. By November 5, 2021, we can provide further

update to the Court on the progress and whether/when the defense in this case will have full access.

                             Status of Production of Video Footage

       The following video footage has been shared to the defense instance of evidence.com and

is accessible to any Capitol Breach defense counsel who requests a license:

           16,925 U.S. Capitol Police (“USCP”) Closed Circuit Video (“CCV”) files consisting
            of approximately 4,800 hours (over four terabytes) of footage from 515 cameras located
            inside the U.S. Capitol Visitor Center and on the Capitol grounds. To assist the defense
            in locating relevant USCP CCV, we have also produced (via USAfx) 15 camera maps
            of the interior of Capitol Visitor’s Center and the interior of the Capitol.

           1,676 Metropolitan Police Department (“MPD”) body-worn-camera (“BWC”) files
            consisting of approximately 1,600 hours of footage recorded by over 900 officers
            between 1:00 p.m. and 6:00 p.m. on January 6, 2021. To assist the defense in locating
            officers who may have recorded body-worn-camera footage at a particular location and
            time, we also produced (via USAfx) a spreadsheet created by the Discovery Team
            based on MPD radio Global Positioning Satellite records.

                            Status of Defense Relativity Workspace

       On October 13, 2021, the United States modified its contract with Deloitte Financial

Advisory Services, LLP (“Deloitte”) to fund a Capitol Breach Relativity workspace and purchase

licenses that will enable legal defense teams to gain access to the database. FPD is now consulting

with Deloitte concerning the construction and organization of the defense workspace and creating

a structure for distributing Relativity licenses to defense counsel. FPD will notify Capitol Breach

defense counsel on how to obtain Relativity license access once the defense workspace is

constructed and organized and is ready to be populated with documents. By November 5, 2021,

we expect to be able to provide more detail about the status of the licenses and whether/when

defense counsel in this case will have access.


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                               Status of Production of Documents

       Since our last filing describing the status of discovery as of September 14, 2021, the

following materials and a corresponding index have been made available for sharing with Capitol

Breach defense counsel via USAfx:

           42 files that consist of MPD internal investigation reports and exhibits (739 pages);

           31 files consisting of digital exhibits to previously produced USCP Office of
            Professional Responsibility (“OPR”) reports;1 and

           USCP radio communications and draft transcripts.

                         Contents of Government Relativity Database

       Our Relativity database currently contains over 33,000 records from USCP, 23,000 records

from MPD, and 56,000 records from the FBI’s main Capitol Breach file (of which about 29,000

pertain to individual defendants and are likely to overlap with materials already produced in the

specific cases to which they are most directly relevant). We can provide more specific information

about when the information in the Government’s Relativity database will be fully transferred to

the defense version by November 5, 2021.

                                Manner of Productions Going Forward

       In terms of the manner in which discovery will be produced going forward:

           We will continue to utilize evidence.com to produce voluminous video footage in all
            Capitol Breach cases.

           Until Relativity access is available to Capitol Breach defense counsel, limited
            productions such as those described above will continue to be made available to counsel
            via USAfx, as well as produced to the defense Relativity workspace.

           Once defense counsel have access to Relativity, it will become the primary method for
            producing voluminous documents. However, we will still continue to make organized


       1
       On September 10, 2021, we made available via USAfx 35 files consisting of 28 reports
from USCP OPR investigations of alleged wrongdoing by USCP officers on January 6, 2021.


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            productions and issue discovery letters to defense counsel describing materials that
            have been added to the defense database.

           Certain materials, because of their nature or volume, will only be produced to the
            defense Relativity workspace. E.g., case-specific discovery that has been provided in
            other defendants’ cases and the results of searches of devices and SCA accounts.2
            Those materials will become accessible to defense counsel once FPD distributes
            licenses for Relativity.

                                   Incarcerated Defendants
       In collaboration with FPD, we have developed a number of proposals to increase access by

incarcerated defendants to discovery materials. These proposals include providing access to e-

discovery (by providing limited evidence.com and Relativity access to inmates via wi-fi and

increasing the number of computers available for discovery review). FPD and our office had a

productive meeting with representatives from the D.C. Department of Corrections (“DOC”) about

the e-discovery proposal on Wednesday, October 20, 2021. At the meeting, representatives of

DOC indicated they would explore with the Director whether a pilot e-discovery program

consistent with our proposal, beginning with Capitol Breach defendants, may be implemented

consistent with the DOC’s security concerns and Internet capacity. We are meeting again on

October 27, 2021, at which time we expect to obtain requested technical and logistical information

from the DOC that would be essential to implementing our joint proposal.

                                      Future Productions

       Among the documents we expect future productions to include are:




       2
         For the search warrant returns for devices or SCA accounts with a very large amount of
video content, part of those returns may be produced through Evidence.com, but we anticipate that
Relativity will be the main platform for hosting the digital search warrant return content.



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           The remainder of USCP CCV (4,204 files), which is mainly comprised of footage that
            has been deemed Highly Sensitive, e.g., footage of the interior of the Capitol;3

           The remainder of MPD BWC footage (largely consisting of footage outside the 1:00 to
            6:00 p.m. timeframe), and BWC footage from Arlington County Police (124 files),
            Fairfax County Police (24 files), Montgomery County Police (60 files), and Virginia
            State Police;

           U.S. Secret Service surveillance camera footage (143 videos);

           Video recordings made by officers of MPD’s Electronic Surveillance Unit;

           Camera map for Capitol grounds;

           Supplemental exhibits to USCP OPR reports;

           USCP After Action Reports;

           MPD Aerial Surveillance Unit Photos;

           Permits for Demonstrations at the U.S. Capitol;

           Additional MPD internal investigation reports;

           MPD and Virginia State Police radio transmissions;

           Legal process pertaining to the collection of geolocation data from Google, Inc. and
            various additional providers;

           BWC Spreadsheet and zone maps (work product created to assist in review of BWC
            footage);

           Statements made by members of law enforcement during interviews arising out of the
            Capitol Breach investigation;

           Discoverable MPD, USCP and FBI records and memoranda currently in (or shortly to
            be ingested into) Relativity;

           Case-specific discovery of other defendants (i.e., discovery already produced to the
            defendant for whom it is directly relevant, but which will be made accessible to all
            defendants);


       3
         To be clear, we are not producing via evidence.com footage that constitutes “Security
Information” pursuant to 2 U.S.C. § 1979, i.e., the 17 hours of CCV footage that relate to the
evacuation of Congressional Members. The disclosure of this footage will be handled separately.

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           Results of searches of devices and SCA accounts; and

           Custodial statements of (other) defendants.

                              Substantial Completion of Discovery

       We understand that the Court would like us to project when production of the global

discovery materials will be substantially complete. As an initial matter, to reach the point where

we can assess a potential date of substantial completion, the government has taken and continues

to make substantial efforts, including:

           Appointing a Capitol Breach Discovery Coordinator in January;

           Assembling a Capitol Breach Discovery Team consisting of experienced attorneys,
            project managers, and litigation technology professionals;

           Collecting information from multiple sources involved in the response to and
            investigation of the Capitol Breach;

           Collaborating with FPD to develop a standard protective order for Capitol Breach
            cases;

           Identifying database solutions for making terabytes of video and documents accessible
            to hundreds of defendants, funding defense databases and obtaining licenses for all
            Capitol Breach defense counsel, and collaborating with FPD to execute these solutions;

           Reviewing specific discovery requests by defense counsel to ensure the appropriate
            materials are prioritized for production;

           Creating protocols and procedures to ensure that (a) case-specific discovery is
            provided, (b) defendants will receive complete copies of unscoped devices and SCA
            accounts upon request; (c) devices and SCA accounts are systematically filtered for
            attorney-client communications; and (d) relevant scoped data and custodial interviews
            will be uploaded to the government’s discovery databases for production to all; and

           Creating proposals for increasing access to discovery by incarcerated defendants.

       We will soon begin to load into Relativity several hundred thousand FBI records (a

substantial portion of which may not be directly related to any charged defendants). These

materials that have been undergoing pre-processing to ensure, among other things, that any

materials that might be subject to protection under Federal Rule of Criminal Procedure Rule 6(e)


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are segregated for processing internally. Once these documents are loaded in Relativity, we will

be able to better assess and execute our plan for reviewing them and producing them in discovery.

We are also currently engaged in a concerted effort to consolidate scoped search results from

thousands of devices and SCA accounts for ingestion by Deloitte. We thus expect to be in a better

position to provide the Court an estimate of the time necessary for substantial completion by

November 5, 2021.

       As many documents may not be discoverable or may be duplicative, neither the Court nor

defense counsel should expect the size of the productions to the defense to mimic the size of the

government’s Relativity workspace.

           Consultation With the Federal Public Defender on This Status Update

       Undersigned counsel shared a copy of this pleading with Michelle Peterson, counsel for

Defendant Watkins and an Assistant Federal Public Defender who has been leading that office’s

efforts in coordinating discovery across the Capitol Breach cases. Ms. Peterson did not object to

the representations made herein about the efforts of her office.

                                            Conclusion

       In sum, we have made substantial progress in our diligent efforts to provide the defense

comparable discovery review platforms for both documents and digital media, to populate those

platforms, and to use alternative means to provide the most relevant discovery without delay. We

will diligently continue to transfer data to our vendors, process it for production, and make interim

productions by other means until the defense platforms are in place. As we continue to implement

our plan, we will continue to file status memoranda with the Court on a regular basis—and in any

event will provide further update by November 5, 2021.




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             WHEREFORE, the United States respectfully submits this discovery status report and

      seeks leave of the Court to supplement this filing on or about November 5, 2021.



                                                  Respectfully submitted,

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  DC Bar No. 415793



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